EXHIBIT 43
                                                    SM 10000 Property, LLC and Swinerton Builders v. Allianz Global Risks US

                   Xpera Group Preliminary Analysis of Damages                                                                                          Policy Categories
                                                                                                                                                                                5. GC's Extra
                                                                                              1. Direct           2. Expediting     3. Debris Removal     4. Temp Repairs                            Unrelated
                                                                                                                                                                                   Expense
                                                                                                                   Extra costs to                            Reasonable        Excess costs to
                                                                                                                      expedite                           additional cost to        continue
                                                                                                                                    Cost for removal                                            Additional costs
                      Description                                 Source                 Direct physical loss   permanent repair                               carry out          scheduled                           Total Related Costs
                                                                                                                                    and demolition of                                               not directly
                                                                                           or damage to         or replacement of                        temporary repairs       progress of
                                                                                                                                       damaged                                                 attirbutable to loss
                                                                                          insured property           damaged                              in order to allow   undamaged work
                                                                                                                                        property                                                      event
                                                                                                                  property, and                              the work to        including re-
                                                                                                                   acceleration                                continue          sequencing

All Area Plumbing CO No. 13050092-007-024                     SB30112546-547                                                                                                      $262,852            -$55,852             $262,852

ACSS CO No. 13050092-035-020                                MMD 00004189-239                                                                                                       $5,230             $39,096               $5,230


Bali Construction CO No. 13050092-038-016                   MMD 00004962-968                                         $4,511                                                        $5,586             $43,665              $10,097

Bapko Metal Inc. CO No. 13050092-061-011                    MMD 00005474-568                                                                                                       $3,992             $90,135               $3,992


Borbon Inc. CO No. 13050092-033-011                         MMD 00005753-759                                                                                                      $271,564                                 $271,564

Borbon Inc. CO No. 13050092-033-012                         MMD 00005759-778                                         $2,120                                                                            $8,411               $2,120


Borbon Inc. CO No. 13050092-033-014                         MMD 00005830-835                                                                                                      $74,063                                  $74,063

Borbon Inc. CO No. 13050092-033-015                         MMD 00005836-841                                                                                                      $96,893                                  $96,893


Borbon Inc. CO No. 13050092-033-016                         MMD 00005842-847                                                                                                      $150,000                                 $150,000

Borbon Inc. CO No. 13050092-033-017                         MMD 00005848-902                                        $65,205                                                       $320,835            $13,330              $386,040


Borbon Inc. CO No. 13050092-033-018                         MMD 00005903-983                                                                                                      $450,551                                 $450,551

Borbon Inc. CO No. 13050092-033-019                           SB40005411-430                                                                                                      $208,930                                 $208,930


Borbon Inc. CO No. 13050092-033-020                         MMD 00005984-989                                                                                                      $400,000                                 $400,000

Borbon Inc. CO No. 13050092-033-021                           SB40005746-747                                                                                                      $440,000           $260,000              $440,000


Brightview CO No. 13050092-041-009                            SB40005459-460                                                                                                       $5,818            $104,182               $5,818

Cattrac Construction Inc. CO No. 13050092-003-017           MMD 00006610-707                                                                                                       $4,650             -$23,235              $4,650


Component West CO No. 13050092-020-045                        SB40090450-451                                                                                                      $353,737           -$139,736             $353,737

Component West CO No. 13050092-020-041                      MMD 00007566-578                                        $164,758                                                                          $11,606              $164,758


Critchfield Mechanical CO No. 13050092-019-014                SB30112593-594                                        $150,957                                                      $270,000            -$15,957             $420,957


Crown Fence Co. Extended General Conditions                     SB30113563                                                                                                        $15,468                                  $15,468

Cupertino CO No. 13050092-005-024                             SB30112537-545                   $2,857                                                         $14,000                                                      $16,857

Cupertino CO No. 13050092-005-025                             SB40126113-115                                        $261,428                                                     $1,871,031          $554,508             $2,132,459


ISEC Inc. CO No. 13050092-028-026                           MMD 00009486-491                                                                                                      $19,334                                  $19,334


ISEC Inc. CO No. 13050092-028-028                           MMD 00009499-519                                                                                                      $111,408                                 $111,408

ISEC Inc. CO No. 13050092-028-029                           MMD 00009520-555                                                                                                      $344,128                                 $344,128

ISEC Inc. CO No. 13050092-028-031                           MMD 00009566-576                                        $19,274                                                       $19,120            $139,977              $38,394

ISEC Inc. CO No. 13050092-028-032                             SB30112548-592                                                                                                      $209,635                                 $209,635


ISEC Inc. CO No. 13050092-028-033                             SB40005479-479                                                                                                      $195,074             $2,684              $195,074

ISEC Inc. CO No. 13050092-028-034                               SB40005469                                                                                                        $153,100                                 $153,100

ISEC Inc. CO No. 13050092-028-035                             SB40006299-300                                                                                                      $35,749                                  $35,749


                                                        SB30112597-598; SB30113590;
Jangho CO No. 13050092-014-017                                                                                      $100,000                                                      $126,387           -$982,798             $226,387
                                                     SB30113591-SB30113594; SB30113595


J&M CO No. 13050092-024-014                                 MMD 00009860-867                                                                                                      $22,865            $107,768              $22,865

Kember CO No. 13050092-049-005                                SB40006058-059                                                                                                       $1,100            $348,900               $1,100

Schindler CO No. 13050092-022-012                           MMD 00010455-461                  $72,117               $113,670                                                                                               $185,787

Schindler CO No. 13050092-022-008                           MMD 00010424-430                                        $175,000                                  $8,795                                                       $183,795


Schindler CO No. 13050092-022-009                           MMD 00010431-437                  $189,648              $158,650                                                                                               $348,298

El Prado Cleaning Service CO No. 13050092-072-003             SB40090428-434                   $6,388                                   $22,274                                   $191,124                                 $219,786

El Prado Cleaning Service CO No. 13050092-072-004             SB40090421-427                                                                                 $246,435             $23,759                                  $270,193

El Prado Cleaning Service CO No. 13050092-072-005               SB40006577                                                                                                        $42,053                                  $42,053




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                   Xpera Group Preliminary Analysis of Damages                                                                                         Policy Categories
                                                                                                                                                                               5. GC's Extra
                                                                                             1. Direct           2. Expediting     3. Debris Removal     4. Temp Repairs                            Unrelated
                                                                                                                                                                                  Expense
                                                                                                                  Extra costs to                            Reasonable        Excess costs to
                                                                                                                     expedite                           additional cost to        continue
                      Description                                Source                                                            Cost for removal                                            Additional costs      Total Related Costs
                                                                                        Direct physical loss   permanent repair                               carry out          scheduled
                                                                                                                                   and demolition of                                               not directly
                                                                                          or damage to         or replacement of                        temporary repairs       progress of
                                                                                                                                      damaged                                                 attirbutable to loss
                                                                                         insured property           damaged                              in order to allow   undamaged work
                                                                                                                                       property                                                      event
                                                                                                                 property, and                              the work to        including re-
                                                                                                                  acceleration                                continue          sequencing

El Prado Cleaning Service CO No. 13050092-072-006            SB40006604-605                                                            $12,675                                                                            $12,675

Sheedy Drayage Co. Extended General Conditions -
                                                               SB30113629                                          $399,036                                                                                               $399,036
Hoist
Sheedy Drayage Co. Extended General Conditions -
                                                               SB30113628                                          $238,889                                                                                               $238,889
Hoist Operator

SMG Stone Company CO No. 13050092-029-027                    SB30039559-642                                                                                                       $6,222            $105,090               $6,222

SMG Stone Company CO No. 13050092-029-028                    SB30039643-649                                                                                                      $83,945             -$13,510             $83,945

SMG Stone Company CO No. 13050092-029-029                   MKA 00001968-974                                                                                                     $68,547                                  $68,547


SMG Stone Company CO No. 13050092-029-030                  MKA 000001989-994                                                                                                     $40,000                                  $40,000

SMG Stone Company CO No. 13050092-029-033                   MKA 00002009-077                                                                                                     $19,087             $63,158              $19,087


SMG Stone Company CO No. 13050092-029-034                   MKA 00002078-083                                                                                                     $50,000                                  $50,000

SMG Stone Company CO No. 13050092-029-035                   MKA 00002084-093                                                                                                     $51,000             -$17,706             $51,000


SMG Stone Company CO No. 13050092-029-036                    SB30112595-596                                                                                                       $1,247             $11,456               $1,247

SMG Stone Company CO No. 13050092-029-037                      SB40005785                                                                                                        $34,182                                  $34,182


Spectrum CO No. 13050092-054-011                              SB028414-454                                                                                                       $24,511             $20,521              $24,511

Spectrum CO No. 13050092-054-014                              SB054459-475                                                                                                        $7,592             $98,707               $7,592
                                                               SB30113514
                                                               SB30113515
                                                               SB30113516
                                                               SB30113517
                                                               SB30113518
                                                               SB30113519
                                                               SB30113520
                                                               SB30113521
                                                               SB30113508
                                                               SB30113509
                                                               SB30113510
                                                               SB30113511
                                                               SB30113512
                                                               SB30113513
                                                               SB30113522
                                                               SB30113523
                                                               SB30113608
  Swinerton Extended GCs and General Requirements              SB30113524                    $299,885              $326,341                                                     $3,205,442                               $3,831,668
                                                               SB30113525
                                                               SB30113526
                                                               SB30113527
                                                               SB30113528
                                                               SB30113529
                                                               SB30113530
                                                               SB30113531
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                                                               SB30113533
                                                               SB30113534
                                                               SB30113535
                                                               SB30113536
                                                               SB30113537
                                                               SB30113538
                                                               SB30113725
                                                               SB30113726
                                                               SB30113734

Troyer CO No. 13050092-034-021                               SB40005808-809                                                                                                        $650              $94,350                $650


Visible Graphics Inc. CO No. 13050092-066-002               MMD 00011416-447                                                                                                      $9,157              $8,486               $9,157

                                                           Category Subtotals:               $570,895             $2,179,840           $34,949              $269,230           $10,307,616          $877,237          $13,362,530

                   Burden / Markup:
                                                            Subguard (1.15%)                $6,565.30            $25,068.16             $401.91            $3,096.14           $118,537.59          $10,088.23          $153,669.09
                                                              PLPD (0.3%)                   $1,712.69             $6,539.52             $104.85             $807.69            $30,922.85           $2,631.71           $40,087.59
                                                              GRT (0.13%)                    $742.16              $2,833.79             $45.43              $350.00            $13,399.90           $1,140.41           $17,371.29
                                                                IT (0.19%)                  $1,084.70             $4,141.70             $66.40              $511.54            $19,584.47           $1,666.75           $25,388.81
                                                               OH&P (5%)                    $28,544.76           $108,991.98           $1,747.45           $13,461.48          $515,380.82          $43,861.85          $668,126.49

                                                              Jobsite Bonus                                                                                                                                               $769,641


                                                              Grand Totals:                  $609,545             $2,327,415           $37,315              $287,456           $11,005,442          $936,626            $15,036,814


                                                    General Notes:
                                                      - Per discussion with Keith Dancey, PCI Code 741 included any work associated with resequencing of activities as a direct result of
                                                     impacts caused by the Loss Event on 12/2/15. This includes unintended or unanticipated trade damage repairs caused by multiple
                                                     trades revisiting units to complete contract work according to the unit leasing matrix, rather than floor by floor, as planned prior to the
                                                     Loss Event.

                                                      - Per discussion with Keith Dancey, PCI Code 0650 included premium time and other costs associated with acceleration of work as a
                                                     direct result of impacts caused by the Loss Event on 12/2/15. This includes work associated with late removal of the manlift, closure of
                                                     the zipper units, and work required to meet revised TCO #2 criteria.

                                                    Swinerton Extended General Conditions and General Requirements - by Category:
                                                     1. Direct - Includes "Elevator Insurance Claim Labor" (SB30113522) and "Elevator Insurance Claim Materials" (SB30113523)


                                                     2. Expediting - Includes "Temp Cranes Operator" (SB30113725), "Temp Cranes" (SB30113726), and "Temp Cranes #2" (SB30113538)


                                                     5. GC's Extra Expense - Includes all other referenced costs produced by Swinerton.




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